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                         UNITED STATES DISTRICT COURT                            -DQXDU\DW
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                                                                 DP
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )       NO. 3:11-cr-00012-22
       v.                                           )
                                                    )       JUDGE SHARP
ALTO PARNELL                                        )


               UNITED STATES’ REQUEST FOR EXTENSION OF TIME

       The United States requests an extension until February 10, 2014 to respond to defendant

Alto Parnell’s motion for judgment of acquittal or new trial (DE 1935).

       This request is due to the undersigned’s unanticipated absence from the office. John

Cauley, defense counsel for Alto Parnell, has authorized the undersigned to report that he has no

objections.

       WHEREFORE, the United States respectfully asks that the Court GRANT the

government’s request for an extension.



                                                    Respectfully submitted,

                                                    David Rivera
                                                    United States Attorney for the
                                                    Middle District of Tennessee

                                                    s/ Sunny A.M. Koshy
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